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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
________________________________

DAYON SHAVER

                         Petitioner,

                 v.                                                    10-CR-0360-A
                                                                       17-CV-0298-A
UNITED STATES OF AMERICA,                                          DECISION AND ORDER

                Respondent.
________________________________

         Petitioner Dayon Shaver seeks relief pursuant to 28 U.S.C. § 2255. For the

reasons stated below, Petitioner’s motion is denied.

                                            BACKGROUND

         On November 19, 2015, Petitioner pled guilty to one count of conspiracy to

transmit, transport, and transfer stolen property in interstate commerce, in violation of

18 U.S.C. § 371. Several months later, the Court sentenced Petitioner principally to 46

months’ imprisonment and ordered her to pay $351,261.72 in restitution. Judgment was

entered on March 31, 2016. Petitioner did not file a notice of appeal.

         Petitioner now seeks to vacate, set aside, or correct her sentence pursuant to 28

U.S.C. § 2255. Docket No. 648. Petitioner makes a number of conclusory claims for

relief. Those claims, however, fall into two categories: (1) claims that her attorney was

ineffective “for failing to raise alleged sentencing errors,” id. at 1; and (2) claims related

to restitution. Id. at 1-2; Docket No. 666. 1




1   Petitioner’s motion to amend her § 2255 motion (Docket No. 666) is granted.

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                                       DISCUSSION

       1.     Petitioner’s claims regarding “alleged sentencing errors”

       Petitioner’s claims regarding alleged errors in her Sentencing Guidelines

calculation are barred by the collateral-attack waiver in Petitioner’s plea agreement. In

her plea agreement, Petitioner “knowingly waive[d] the right to . . . collaterally attack any

component of a sentence imposed by the Court which falls within or is less than” a

Guidelines imprisonment range of 37 to 46 months, “notwithstanding the manner in

which the Court determines the sentence.”           Docket No. 516 ¶¶ 13(a), 19.          At

sentencing, the Court found that the Guidelines imprisonment range was 46 to 57

months and sentenced Petitioner to 46 months’ imprisonment—that is, a term of

imprisonment within the scope of the collateral-attack waiver.

       A collateral-attack waiver is “‘presumpti[vely] . . . enforceabl[e].”     Sanford v.

United States, 841 F.3d 578, 580 (2d Cir. 2016) (quoting United States v. Gomez-

Perez, 215 F.3d 315, 319 (2d. Cir 2000)) (brackets omitted). As a result, a court may

disregard a collateral-attack waiver in only a few circumstances, “‘such as (1) when the

waiver was not made knowingly, voluntarily, and competently, (2) when the sentence

was imposed based on constitutionally impermissible factors, such as ethnic, racial or

other prohibited biases, (3) when the government breached the plea agreement, or (4)

when the sentencing court failed to enunciate any rationale for the defendant’s

sentence, thus amounting to an abdication of the judicial responsibility subject to

mandamus.’” Id. Petitioner has not alleged that the collateral-attack waiver in her plea

agreement is unenforceable for these or any other reasons.




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       Because Petitioner is proceeding pro se, the Court must read her pleadings “to

suggest the strongest arguments that can be made” for ignoring the collateral-attack

waiver. Weixel v. Board of Ed. of City of New York, 287 F.3d 138, 141 (2d Cir. 2002).

Even when reviewed in a charitable light, however, no such argument is apparent from

the record. Indeed, the transcript of Petitioner’s plea hearing shows, quite clearly, that

Petitioner knowingly, intelligently, and voluntarily entered into the plea agreement, and

that she understood each of its terms. See Docket No. 661.

       Petitioner’s sentencing-related claims are therefore denied.

        2.     Petitioner’s claims regarding restitution

         In the plea agreement, the parties agreed that Petitioner would be required to

pay $351,261.72 in restitution.       The Presentence Investigation Report, however,

recommended that the correct restitution amount was $671,183.25. The Court used the

higher figure to calculate Petitioner’s base offense level but ordered Petitioner to pay

only the agreed-to amount of $ 351,261.72 in restitution. Although she was ordered to

pay only the lower, agreed-to restitution amount, Petitioner makes a number of claims

related to restitution.

       “Restitution orders cannot be challenged through a habeas petition because ‘a

monetary fine is not a sufficient restraint on liberty to meet the “in custody” requirement’”

of § 2255 “‘even if raised in conjunction with a challenge to a sentence of

imprisonment.’” United States v. Boyd, 407 F. App’x 559, 560 (2d Cir. 2011) (quoting

Kaminski v. United States, 339 F.3d 84, 97-88 (2d Cir. 2003)). Petitioner’s challenges

to the Court’s restitution order are, therefore, not cognizable on a habeas motion.




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       Again, however, because Petitioner is proceeding pro se, the Court must read

her pleadings to suggest the strongest arguments that can be made for reviewing

Petitioner’s restitution-related claims. The only apparent argument is that the Second

Circuit has “not yet foreclosed the possibility that a restitution order might entail a

sufficiently severe restraint on liberty, not shared by the public at large, as to amount to

a form of custody.’” Gonzalez v. United States, 792 F.3d 232, 237 (2d Cir. 2015)

(quoting Kaminski, 339 F.3d at 87).

       There is no question that Petitioner’s restitution order is large, but she has not

shown that the restitution amount “entail[s]” such a “severe restraint on liberty” that it is

the equivalent of “custody”—particularly in light of the Second Circuit’s admonition that

such cases “will likely be . . . rare.” Gonzalez, 792 F.3d at 237. Indeed, the Second

Circuit has held that a restitution order limited “to payment on a monthly basis of the

greater of ten percent of [a habeas petitioner’s] monthly income or $100[] plainly does

not come close to” being a “restraint on liberty.” Kaminski, 339 F.3d at 87. Here, the

Court ordered Petitioner to make restitution payments “at the rate of 10% of [her]

monthly gross income” while she is on supervised release. Docket No. 572 (Judgment)

at 6. And while she is incarcerated, Petitioner must make payments of either $25 per

quarter or 50% of her monthly inmate pay, depending on certain designations from the

Bureau of Prisons. Id. These are not unduly harsh payment terms. Petitioner has,

therefore, not shown that the Court’s restitution order is a “sufficiently severe restraint

on liberty” as to be cognizable on § 2255 review.

       Petitioner’s restitution-related claims are therefore denied for lack of jurisdiction.




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                                     CONCLUSION

       For the reasons stated above, Petitioner’s § 2255 petition (Docket No. 648) is

denied.   Further, pursuant to 28 U.S.C. § 2253(c)(1) and Rule 11(a) of the Rules

Governing Section 2255 Proceedings, the Court declines to issue a certificate of

appealability because Petitioner has not made a substantial showing of the denial of a

constitutional right.

       Finally, the Court certifies, pursuant to 28 U.S.C. § 1915(a)(3), that any appeal

taken from this decision would not be taken in good faith. Thus, leave to appeal in

forma pauperis is denied. Petitioner is nonetheless advised that, should she decide to

appeal this Decision and Order, “Federal Rule of Appellate Procedure 4(a) governs the

time to appeal,” and “[a] timely notice of appeal must be filed even” though the Court

declined to issue a certificate of appealability. Section 2255 Rule 11(b).

       The Clerk of the Court shall take all steps necessary to close the parallel civil

action, 17-CV-0298-A.

SO ORDERED.



Dated: August 17, 2017                            ____s/Richard J. Arcara_________
       Buffalo, New York                          HONORABLE RICHARD J. ARCARA
                                                  UNITED STATES DISTRICT JUDGE




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